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                                UNITED STATES DISTRICT COURT

               THE EASTERN DISTRICT FOR THE STATE OF MICHIGAN

UNITED STATES OF AMERICA,

                           Plaintiff,      U.S. District Court
                                           Case No. 2:12-cr-20030-NGE-MKM-1, 4, 5

v.                                         JUDGE: NANCY G. EMONDS
                                           MAGISTRATE JUDGE: MONA J. MAJZOUB

JEFFREY BEASLEY et al.,

                           Defendants.

_____________________________________________________________________________/
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     MISCELLANEOUS ACTION FOR AN ORDER IN LIMINE CONCERNING
   ATTORNEY-CLIENT PRIVILEGED COMMUNICATIONS AND REQUEST FOR
                   EXPEDITED DECISION ON SAME

        Non-parties, Police and Fire Retirement System of the City of Detroit (“PFRS”) and

General Retirement System of the City of Detroit (“GRS”)(collectively, “the Retirement

Systems”), through their counsel, Clark Hill PLC, bring this miscellaneous action for an order in

limine concerning attorney-client privileged communications. The Retirement Systems further

request that the Court address this action on an expedited basis. In support of this action, the

Retirement Systems state as follows:


                                           Introduction


        1.       On certain occasions during the (ongoing) trial in the matter of the United States

of America v. Jeffrey Beasley et al., 2:12-cr-20030-NGE-MKM (as lead Defendant, referred to

herein as “the Beasley Trial”), certain witnesses have been asked to provide testimony

concerning or related to potentially private attorney-client communications between

representatives of PFRS and/or GRS and their common or respective attorneys. As the Beasley

Trial continues over the next several weeks, it is anticipated that other witnesses will be asked to

provide testimony concerning or related to such communications. As more fully discussed

below, (a) such communications are protected from disclosure under the attorney-client

privilege, and (b) the witnesses who have testified, or may testify in the Beasley Trial, do not

own the attorney-client privilege belonging to the Retirement Systems, and thus, do not have

authority to waive the privilege.


        2.       As non-parties, and without any practical real-time means to do so, the Retirement

Systems have not been able to object to or otherwise address the potentially privileged nature of
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certain testimony provided to date in the Beasley Trial. Accordingly, so as to ensure the

protection and preservation of their attorney-client privileged communications, the Retirement

Systems bring this miscellaneous action for an order in limine, (a) precluding parties to the

Beasley Trial and/or their counsel from seeking to discover the Retirement Systems’ respective

and/or common attorney-client privileged communications, (b) precluding parties to the Beasley

Trial and/or their counsel from otherwise obtaining the Retirement Systems’ respective and/or

common attorney-client privileged communications, (c) precluding parties to the Beasley Trial

and/or their counsel from disclosing the Retirement Systems’ respective and/or common

attorney-client privileged communications, (d) precluding any witnesses testifying in the Beasley

Trial from disclosing the Retirement Systems’ respective and/or common attorney-client

privileged communications, and (e) providing for such further and different relief necessary or

appropriate to protect the Retirement Systems’ respective and/or common attorney-client

privileged communications during the Beasley Trial.


        3.       Given the anticipated schedule in the Beasley Trial, and the continuation of same,

the Retirement Systems also respectfully request that the Court address this action on an

expedited, if not an emergency, basis.


        4.       Concurrence in the relief requested in this miscellaneous action was requested

from counsel for the parties to the Beasley Trial, but concurrence was not obtained from all

parties, making the filing of this action necessary.


                                         Controlling Law


        5.       The attorney-client privilege is one of the oldest (and most important) privileges

in all of American Jurisprudence. Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). A
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communication that is the subject of the privilege is one made to (or by) an attorney, as a legal

adviser, by (or to) a party, as a client, for the purpose of obtaining the attorney’s legal advice and

opinion, relative to some legal right or obligation. Id.


        6.       The attorney-client privilege is personal to the client, and only the client can

waive it. Leibel v. General Motors Corporation, 250 Mich. App. 229, 240 (2002).


                                         Material Circumstances


        7.       On various occasions during the Beasley Trial witnesses have been asked to

discuss (potentially) subject to an attorney-client privileging belonging exclusively to PFRS,

GRS, or both Retirement Systems. For example, upon information and belief, Cynthia Thomas –

a former administrator for the Retirement Systems - provided testimony about communications

with PFRS’ attorneys that transpired during a closed session. That testimony was (potentially)

subject to the attorney-client privilege belonging to PFRS, and Ms. Thomas did not have the

right (or the ability) to waive the privilege. Indeed, as set forth above, that privilege is personal

to PFRS, and only PFRS could waive the privilege, which it did not, and does not.


                                                 Conclusion


        8.       The instant miscellaneous action is necessary and important to protect the

Retirement Systems’ attorney-client privileged communications during the course of the Beasley

Trial. As a non-parties to the Beasley Trial, and without the real-time ability to protect such

communications from disclosure, the Retirements Systems respectfully request that the Court

enter an order in limine, (a) precluding parties to the Beasley Trial and/or their counsel from

seeking to discover the Retirement Systems’ respective and/or common attorney-client

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privileged communications, (b) precluding parties to the Beasley Trial and/or their counsel from

otherwise obtaining the Retirement Systems’ respective and/or common attorney-client

privileged communications, (c) precluding parties to the Beasley Trial and/or their counsel from

disclosing the Retirement Systems’ respective and/or common attorney-client privileged

communications, (d) precluding any witnesses testifying in the Beasley Trial from disclosing the

Retirement Systems’ respective and/or common attorney-client privileged communications, and

(e) providing for such further and different relief necessary or appropriate to protect the

Retirement Systems’ respective and/or common attorney-client privileged communications

during the Beasley Trial.


                                                   Respectfully submitted,




                                                   By: _/s/ StuartM. Schwartz______________
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